Case 2:12-cv-00089-KM-JBC Document 237 Filed 03/17/17 Page 1 of 2 PageID: 11880




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



  CHARLENE DZIELAK, et al.,

             Plaintiffs,                                     Civ. No. 2:12-0089
                                                              (KM) (JBC)

      V.

                                                                    ORDER
  WHIRLPOOL CORPORATION, et al.,


             Defendants.



       THIS MATTER having come before the Court upon the motions in limine

 of defendants Whirlpool Corporation,          Lowe’s Home Centers,        LLC,    Sears

 Holdings Corporation, and Fry’s Electronics, Inc. (collectively, the “Defendants”)

 (ECF Nos. 198, 199, and 200), and the cross-motion in limine of the plaintiffs

 (ECF No. 221); and the Court having considered the moving papers and the

 papers in opposition and reply (ECF Nos.198-1, 199-1, 200-1, 212, 213, 214,

 224, 228, 229, 230, 231, 232); for the reasons set forth in the accompanying

 Opinion, and good cause appearing therefor;

       IT IS this 17th day of March, 2017,

       ORDERED, in accordance with the accompanying Opinion, that:


       The   defendants’     motion   to   exclude   the   expert   opinions      of   Dr.

 Ramamirtham Sukumar (ECF No. 198) is DENIED;


                                           1
Case 2:12-cv-00089-KM-JBC Document 237 Filed 03/17/17 Page 2 of 2 PageID: 11881




       The defendants’ motion to exclude the expert opinions of Dr. Michael J.

 Dennis (ECF No. 199) is DENIED;

       The defendants’ motion to exclude the expert opinions of Cohn B. Weir

 (ECF No. 200) is GRANTED in part, as to the portions of Mr. Weir’s opinions

 that rely on the anonymous Whirlpool document, and DENIED in part, as to

 the remainder of Mr. Weir’s opinions; and

       The plaintiffs’ motion to strike the rebuttal and supplemental reports of

 Dr. Carol A. Scott (ECF No. 221) is DENIED.


       Plaintiffs may, at their option, submit within 14 days of the date of this

 Order, a supplemental report, not to exceed 5 pages, confined to the issue of

 the additional Home Depot data discussed in Dr. Scott’s supplemental report.

 Plaintiffs’ request to submit a further response to Dr. Scott’s Rebuttal Report is

 denied.




                                                   KEVIN MCNULTY /
                                              United States District Ju1ge—’




                                          2
